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 8                           IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA
 9                                   SACRAMENTO DIVISION

10    LORENZO MAYS, RICKY                                Case No. 2:18-cv-02081 TLN KJN
      RICHARDSON, JENNIFER BOTHUN,
11    ARMANI LEE, LEERTESE BEIRGE, and
      CODY GARLAND, on behalf of themselves              JUDGE: Hon. Kendall J. Newman
12    and all others similarly situated

13                   Plaintiffs,                         FILING OF ENVIRONMENT OF CARE
                                                         EXPERT REPORT
14    vs.

15    COUNTY OF SACRAMENTO

16                   Defendant.

17

18           Pursuant to subsection K of the Medical Care Remedial Plan of the Consent Decree, the
19    County must consult with an Environment of Care expert to evaluate the facilities in which
20    inmates receive clinical treatment. (See Exhibit A, page 40 of 63.) The County, in consultation
21    with Class Counsel, retained Diane Skipworth to provide this report. Attached to this filing as
22    Exhibit 1, please find Ms. Skipworth’s report.
23           The County has reviewed Ms. Skipworth’s report and has begun addressing the concerns
24    that she raised. The County will include the progress it has made on these recommendations in
25    ///
26    ///
27    ///
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      _____________________________________________________________________________________________
      FILING OF ENVIRONMENT OF CARE EXPERT REPORT
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 1      the next Self-Monitoring report the County files with the Court pursuant to Paragraph 12 of the
 2      Consent Decree.
 3      DATED: ----=--A=u=e:=�t�l�7�. 2=0=2=2__
                            us                      LISA A. TRAVIS, County Counse
                                                    Sacramento County, C · ·ni
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                       EXHIBIT 1
Case 2:18-cv-02081-TLN-KJN Document 157 Filed 08/17/22 Page 4 of 35




             Environment of Care Report
               Sacramento County Jail
            Mays et al. v. County of Sacramento




                          Submitted By:
            Diane Skipworth, MCJ, R.D.N., L.D., R.S., CCHP
                             6/21/2022
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Introduction
The Sacramento County Jail is comprised of two facilities, the Sacramento County Main Jail
(Main Jail), in downtown Sacramento and the Rio Cosumnes Correctional Center (RCCC), also
known as the Branch Jail, in Elk Grove, California. Both facilities are operated by the
Sacramento Sheriff’s Office (SSO). Custodial operations and facility maintenance are provided
by the Sacramento County Department of General Services (DGS). On March 7-8, 2022, I
inspected the Main Jail and on March 9, 2022, I inspected RCCC. The purpose of this review
was to “evaluate the facilities where patients are housed and/or receive clinical treatment, and
to make written recommendations to address issues of cleanliness and sanitation that may
adversely impact their health.” 1


Standards Used
    •    The California Board of State and Community Corrections’ Minimum Standards for Local
         Detention Facilities, Adult Title 15 Regulations, effective October 1, 2019 and Adult Title
         24 Regulations, Minimum Standards for the Design and Construction of Local Detention
         Facilities, effective January 1, 2020.

    •    American Public Health Association’s (APHA) Standards for Health Services in
         Correctional Institutions (Third Edition, 2003).

    •    American Correctional Association (ACA), Performance-Based Standards for Adult Local
         Detention Facilities, 4th Edition.

    •    Food Code 2017, published by the U.S. Food and Drug Administration (FDA).

    •    California Health and Safety Code, Division 104. Environmental Health, Part 7. California
         Retail Food Code.2

    •    CDC’s Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in
         Correctional and Detention Facilities, updated May 3, 2022.

    •    NFPA 25, Standard for the Inspection, Testing, and Maintenance of Water-Based Fire
         Protection Systems, 2020 Edition, published by the National Fire Protection Association.




Mays et al. v. County of Sacramento, Case No: 2:18-cv-02081-TLN-KJN (K. Sanitation; pg. 39).
1

https://leginfo.legislature.ca.gov/faces/codes_displayexpandedbranch.xhtml?tocCode=HSC&division=104.&title=
2

&part=7.&chapter=&article=

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The Indoor Environment and Health
All buildings have an indoor microbiome consisting of bacteria, viruses, and fungi. 3 The
microbiome can have neutral, beneficial, or adverse effects on human health, especially for
individuals with asthma. Microorganisms are introduced into an indoor environment, such as a
jail housing unit, through a variety of routes including dirt on shoe soles, personal clothing,
dust, insects, rodents, and outdoor air.

The following help maintain a healthy indoor environment.

      •    Routinely cleaning floors, walls, fixtures, and furnishings.
      •    Maintaining the heating, ventilation, and air conditioning (HVAC) system in good
           working order and routinely changing the filters to ensure good ventilation.
      •    Controlling moisture, condensation, and humidity. Promptly repairing water leaks.
      •    Removing visible mold and mildew growths.
      •    Routinely collecting and properly disposing of waste.
      •    A safe and effective pest control program.


Summary of General Findings
Cleanliness and Sanitation
Health Rationale: The facilities must be maintained in good repair and in a clean, orderly
condition to prevent and minimize illness and infection, accidents and injuries, and to promote
good physical and emotional health.

Dust
Dust (“house” dust) is generally defined as fine particles present in the air or that have settled
from the air that include mites, hairs, fibers, pollens, and smoke particles. Asthma can be
triggered by dust.

Staircases
The staircases throughout the jail housing units were extremely dusty and dirty. The jail
housing units with mezzanine levels have painted steel staircases between the lower floor and
the mezzanine or second level. The staircases were found to be filthy with thick accumulations
of dust on the horizontal surfaces and accumulations of dust, dirt, and debris running the
length of the plates and posts that secure the staircases to the floor. The stairsteps were very
dirty and most had miscellaneous small pieces of trash and food debris. The thick
accumulations of dust, dirt, and debris indicate a lack of routine cleaning. The dirty staircases


3
    https://www.epa.gov/indoor-air-quality-iaq/indoor-microbiome

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pose a hazard as dust and debris may fall from the upper heights to the dayroom below, which
is used by prisoners for meals and recreation.

HVAC Ductwork
The two-tier units have high ceilings and exposed HVAC ductwork running throughout the
housing units. The horizontal surfaces of the ductwork are covered with thick layers of dust
and cobwebs. Although it is recognized that cleaning the ductwork is difficult due to the ceiling
height, it is a task that should be scheduled on a periodic basis.

Rust
Although rust is generally not dangerous or hazardous to humans, rusty surfaces cannot be
properly cleaned. Rust can lead to structural deterioration, and is therefore more than just a
cosmetic issue. The facility should be maintained in good repair; therefore, heavily rusted
surfaces, fixtures, and furniture should either be cleaned and refurbished or replaced. Rusty
surfaces are often an indication of problems with ventilation, humidity, and condensation.

Terminal Cleaning
Terminal cleaning should be completed after every patient/inmate is released or moved from a
cell or personal living area. Accumulations of soils, trash, and garbage provide harborage and
breeding sites for vectors of disease. Poor housekeeping practices leads to the spread of
disease, increased likelihood of accidents, and creates fire hazards.

Shower Sanitation
Health Rationale: Clean, well-maintained showers are essential for good health and hygiene.

Shower Vent Grilles
A heavy accumulation of dust on a shower vent grille, clogs the vent, restricting the airflow and
air exchange necessary to prevent excess moisture and prevent mold and mildew growths. The
dust may also harbor bacteria.

Hard Water Deposits
Hard water deposits can harbor pathogenic bacteria. Hard water deposits can accumulate in
plumbing fixtures and restrict water flow, causing blockages that can decrease the efficiency of
hot water heaters and boilers, and increase maintenance costs.

Clogged Shower Drains
Shower floor drains that were clogged with organic matter including hair and soap residues
were observed. Clogged shower drains are also a hazard because they can lead to the back up
of potentially contaminated water from dirty drains while showering.




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Drain Flies
Drain flies resemble gnats or fruit flies and breed in the organic film that coats floor drains.
Drain flies cannot bite humans; however, they are a nuisance and have the potential to carry
pathogenic microorganisms from floor drains and sewage on their bodies and contaminate
clean surfaces. Floor drain cleanings are necessary to prevent accumulations of organic matter
and drain fly infestations. Pouring hot water, cleaning chemicals, or bleach down a drain is not
sufficient to remove or dissolve the organic matter. Floor drains should be manually cleaned,
followed by cleaning with enzymatic chemicals specifically formulated for drains. Thereafter,
the floor drains should be routinely inspected and maintained with a cleaning and enzyme
program.

Mattresses
Health Rationale: Prisoners should have suitable, clean bedding to maintain health and
minimize illness and infection.

Mattresses with cracked covers, rips, and open seams were observed. Once the integrity of the
vinyl mattress cover is compromised, exposing the inner filling, it can no longer be properly
cleaned and disinfected. Damaged mattresses can transfer disease-causing pathogens from
person to person.




Environmental Inspection Findings
The emphasis of these inspection findings is to address environmental conditions and their
relation to hygiene, sanitation, and health, based on the rationale that adequate sanitation is
fundamental in safeguarding the health of patients/inmates at the Sacramento County Jail. The
following report cites specific examples of conditions found during this review; however, the
listed examples are not all inclusive of the conditions found during the inspection.



Main Jail: Intake

Intake Arrestee Bathroom
The arrestee bathroom floor was soiled with dirty footprints and a heavy buildup of dark
colored soil around the floor tile cove base and grime around the bottom and sides of the
stainless-steel plate mounting the toilet fixture to the tile wall.




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There was no soap for handwashing in the intake arrestee bathroom, paper towels were
available. Detainees should have access to running water, soap, and paper towels to prevent
the spread of disease.

Recommendations:
   1. Ensure that the arrestee bathroom is deep cleaned on a routine basis, including cleaning
      and scrubbing the floor in the corners and crevices, and cleaning the tile cove base to
      remove embedded dirt.
   2. Ensure that arrestees have access to handwashing supplies.


Intake Exam Room
The intake area room labeled “Exam Room” was cluttered and dirty. Numerous carts, a
computer workstation with a chair, an exam table, a printer on a stand, a large plastic trash can,
a large red plastic container, and two wet floor signs filled the room. The floor was dirty and
was particularly dirty in the spaces between and behind the various carts and equipment in the
room. The walls were soiled with dried, drips and splashes, and the paint was chipped and
damaged in several areas. The cabinets and countertop were in disrepair, the laminate was
chipped, and several of the drawer fronts and cabinet doors were missing. The condition of the
counters is not conducive to proper cleaning and disinfection. Mold was growing under the
sealant between the countertop and the backsplash. A cabinet drawer labeled “Medication
Box” was unlocked and partially open. The drawer contained a plastic box labeled “Intake Box
1”, and contained medications, as well as numerous loose packages of medications. The
unlocked, open drawer of medications presented a serious health hazard.

Recommendations:
   1. The intake exam room should be decluttered.
   2. Repair the damaged walls and repaint the intake exam room.
   3. Ensure that walls are kept clean and in good repair.
   4. The sealant should be removed from between the countertop and the backsplash in the
      intake exam room. The counter and backsplash should be deep cleaned with an
      appropriate product to kill mold spores, and then resealed/regrouted. The area should
      be routinely inspected for mold growths and cleaned.
   5. Replace the cabinets and counter in the intake exam room.
   6. The “Medication Box” drawer in the intake exam room should be kept secure.



Nurse Interview Stations
The Main Jail booking area has three workstations that are used by nurses to conduct intake
screening. The space in each in the three interview stations, which are comparable to open

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cubicles, is very compact. The chair for the detainee is wedged between a wall on one side, a
clear plexiglass partition on the other side, and the back of the chair is pushed up against the
workstation counter. There is also inadequate space between the nurses’ desk, the chair, and
the wall. The lack of space between the chairs and the walls has led to soiling of the walls next
to the detainee seating, and the walls behind the nurses’ chairs were heavily scuffed and
damaged. The laminate on the workstations was chipped and broken; therefore, because it is
not a smooth, easily cleanable surface, it cannot be properly cleaned and disinfected. The floor
in the interview stations was dirty, and dust had accumulated around the power strips and
power cords under the workstations.

Recommendations:
   1. The nurse interview stations should be evaluated to ensure that they are appropriately
      sized to allow for proper cleaning and disinfection. 4
   2. The nurse interview workstation desks should be replaced or renovated to ensure that
      the surfaces are smooth and can be easily cleaned and disinfected.
   3. The damaged walls behind the nurses’ chairs should be repaired and repainted.
   4. Ensure that the walls and floors in the interview stations are kept clean and in good
      repair.



Main Jail: Sobering, Segregation, and Holding Cells
The floors throughout the intake cells were dirty with a buildup of grime, particularly at the
floor wall junctures, under the benches, and around the toilets. The floor in Holding Cell 2 is in
disrepair with spider cracks and is broken and chipping away around the center floor drain. A
drain fly was observed in Holding Cell 2. The bottom half of the cell walls are painted black, and
the upper portion of the cell walls are painted white. However, cell walls that are painted very
dark colors absorb light and are contrary to the general sanitation principal that walls should be
painted a light color, that reflects light so that dirt and soils can be easily detected to facilitate
cleaning. The vent grilles were covered with dust, blocking airflow. The cells were malodorous.

A Sobering Cell 5 is an open cell or room that is used to hold and monitor intoxicated persons.
California Adult Title 24 Regulations, Minimum Standards for the Design and Construction of
Local Detention Facilities, Part Two, Section 1231, Minimum Standards for Adult Detention
Facilities, 1231.2.4 requires that Sobering Cells have a padded floor. The Main Jail male
sobering cell was dirty and the padded floor was in a state of disrepair and therefore, the

4
  The focus of this review and recommendation is environmental issues and therefore does not address medical or
privacy related concerns.
5
  § 1056. Use of Sobering Cell, The California Board of State and Community Corrections’ Minimum Standards for
Local Detention Facilities, Adult Title 15 Regulations, effective October 1, 2019

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surface was not readily cleanable. Staff reported that the sobering cell was going to be closed
the starting the following day, for 48-hours, for renovations. A post renovation photograph of
the cell was provided and based on the snapshot, the cell appeared clean and the repairs
adequately addressed the flooring concerns.

Recommendations:
   1. Ensure that the floors and walls in the intake cells are kept clean.
   2. Renovate the damaged cell floors to ensure they are in good condition and can be
      maintained in a sanitary manner.
   3. Routinely inspect, clean, and maintain the floor drains, to prevent drain fly infestations.
   4. As a best practices recommendation, cell walls should be painted a light color, rather
      than a very dark color or black.
   5. Routinely clean vent grilles to clear accumulated dust and ensure proper ventilation.



Intake Change-Out Room
The Main Jail “male change-out room” is the area where jail clothing is issued, inmates shower,
and dress in jail clothing. There are two wood benches in the room. Open front stalls for are
created by metal partitions that are bolted to the wall and floor along the length of the longer
wood bench. A thick accumulation of lint, dust, and dirt, was found at the juncture of the
bench and the wall, and a particularly heavy soil accumulation was observed in the corner of
the bench. The flooring in the change-out area is heavily worn, exposing the base layer in
numerous areas, which renders the floor difficult to adequately clean. The floor throughout the
area was filthy and had a heavy buildup of dust and dirt at the floor and wall junctures and in
the corners. There was also heavy accumulations of lint, dust, and dirt under the benches.

Uniforms and laundry items that are issued to new inmates are rolled together into a bundle,
that is wrapped with a bath towel, and a long piece of masking tape that is labeled with the size
of the uniform is used to hold the bundle together. The bundles of clean laundry are stored on
the shorter wood bench in the male change-out room, located across from the change-out
stalls. However, all of the clothing bundles did not fit on the bench and consequently
numerous bundles of clean clothing were stored directly on the dirty floor.

The change-out room has a shower for bathing before dressing into jail clothing. The shower
had a small section of tile that was broken and missing on the lower portion of the wall at the
entry. The damaged area of the shower wall cannot be properly cleaned and presents a risk of
accidental injury, especially to the foot. The shower floor had heavy soil accumulations in the
corners and various dried streaks and smudges were observed on the walls. Numerous strips of



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masking tape from the clothing rolls, were stuck to the shower walls, the tape may support the
growth of pathogenic bacteria.

Recommendations:
   1. Ensure that the floors in the change-out room are kept clean.
   2. Renovate the heavily worn floors in the change-out area.
   3. Repair the tile in the change-out room shower.
   4. Ensure that the floor and walls in the change-out shower are maintained in a clean and
      sanitary condition.
   5. Ensure that the bench and change-out stalls are kept clean and free of dust and dirt.
   6. Do not store or place clean inmate laundry on the floor. Additional storage, such as
      shelving or cabinets should be installed, if needed to ensure that an adequate supply of
      clean laundry is available for distribution.



Mattresses for the Main Jail Intake Area
Several stacks of mattresses were sitting directly on the floor in the intake area corridor.
Mattresses should not be stored directly on the floor as this does not facilitate good
housekeeping, exposes the mattresses to the floor, and provides harborage for vermin. The
mattresses were reported to be inventory to accommodate increased numbers of detainees
due to Covid-19. The vinyl covered mattresses were in good condition with no apparent cracks,
rips, open seams, etc. However, many of them were visibly dirty or dusty, especially on the
bottom, which then dirties the top of the mattress stacked under it. There was no signage to
indicate if the mattresses were “clean” or “dirty” and when asked, SSO staff stated that there
was not a formal procedure for cleaning and disinfecting the mattresses between uses.

Recommendations:
   1. Implement a formal policy and procedure for cleaning and disinfecting mattresses
      between every use.
   2. Store mattresses off of the floor. Clearly separate and label mattresses that have been
      cleaned, disinfected, and ready for reissue, from those that have not yet been cleaned
      and disinfected after use. As a best practice, dirty mattresses and clean mattresses
      should be stored in physically separate locations.



General Population Holding Room
The Main Jail intake holding room or large cell (designated for women) was dirty and crowded.
At the time of inspection, the occupants were not in the cell and it was reported that they had
been taken to a different area for dayroom time. Seven mattresses were stacked in two piles

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on the floor. Blankets and several open milk cartons were sitting on the worn wood benches
that ran the perimeter of the room. Despite an officer stating that the room had been cleaned;
it was dirty, especially the floor under the benches. Had all seven or even most of the
mattresses been positioned the floor, there would be no room to walk, and the occupants
would have to step on each other’s mattresses to access the sink and toilet. The benches are
narrower than the mattresses, thus laying on a mattress on the bench would place the mattress
in a potentially precarious position. An SSO officer stated that the holding room has held as
many as nine and up to ten people. Overcrowded conditions increase the likelihood of illness
and disease.

Recommendations:
   1. The maximum number of occupants held in holding rooms should be immediately
      assessed and evaluated based on accepted industry standards for hours of daily
      confinement, square feet per occupant, and ratios of toilets per occupant.6
   2. Ensure that all of the intake holding rooms and cells are maintained in a clean and
      sanitary condition.




Main Jail: Clinical Areas

M2 Medical Floor – Dialysis Room
The renal dialysis room was cluttered and disorganized. Several large cardboard boxes were
stacked behind one of the patient chairs, boxes were stacked on the seat of the other patient
chair, and access to the handwashing sink was impeded by boxes and a trashcan. The supplies
in the room appeared to be arranged in a haphazard manner. The dialysis room should be
organized so that essential supplies are readily available and accessing supplies does not
interfere with patient care.

Dialysis patients have weakened immune systems and are at increased risk of infections due to
the insertion of catheters and needles to access the bloodstream during hemodialysis. 7
Infection can be spread from contaminated surfaces, such as dialysis stations and machines to
the patient by a healthcare worker’s hands. Therefore, healthcare workers must perform
frequent hand hygiene during dialysis treatments; thus, access to the handwashing sink is an
essential element of infection control.




6
    ACA Plumbing Fixtures, 4-ALDF-4B-08 requires one toilet for every 8 inmates in female facilities
7
    https://www.cdc.gov/dialysis/index.html

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Recommendations:
   1. The dialysis room should be organized and clutter-free to facilitate the environmental
      cleaning and infection control practices necessary to protect hemodialysis patients.
   2. The handwashing sink should be easily accessible at all times to promote and facilitate
      the proper hand hygiene practices necessary to protect hemodialysis patients.



Medical Exam Rooms
Each of the Main Jail floors 3, 4, 5, 6, 7, and 8 has a medical exam room that is shared by the
east and west housing units on each floor. The vinyl covers on the medical exam tables in the
3rd floor and 5th floor medical exam rooms were severely cracked on both bottom corners,
exposing the inner cushion. Once the integrity of the vinyl cover is compromised, it can no
longer be properly cleaned and disinfected. This is particularly concerning in a medical care
area because disease-causing microorganisms, including MRSA can be spread from person to
person via the exam table.

Recommendation:
   1. All medical exam tables should be inspected, and any that are found to have a cracked
      or damaged vinyl cover, should have the cover or the table replaced, including the exam
      tables in the 3rd and 5th floor medical exam rooms.



Main Jail: Medical Units

2-Medical Unit - Hallway
A rusty, corroded metal cart was parked in the hallway and held a variety of miscellaneous
items. Unlabeled spray bottles were hanging from the cart that appeared to contain chemicals,
based on the color of liquids inside the bottles. Unlabeled chemicals are a hazard because they
may be mistaken for another liquid or used improperly. The carts also held several sleeves of
Styrofoam cups and the spray nozzles of two of the bottles were resting against a sleeve of the
cups. Although the sleeve of cups was covered in plastic, the unknown liquid in the spray
bottles presented a cross contamination hazard. Chemicals and food service wares should not
be stored together. An open bulk box of plastic spoons was sitting on the cart, the cardboard
box was soiled with an oily substance, the spoons were contained in a plastic bag; however, the
bag was left open, potentially exposing the spoons to environmental contamination.




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Recommendations:
   1. Ensure that all chemical containers, including spray bottles, are properly labeled in
      accordance with applicable standards including OSHA’s Hazard Communication
      Standard.
   2. Ensure that food service utensils and wares, including disposable cups and spoons are
      properly stored so that they are not exposed to potential sources of contamination.


2P - Inpatient Mental Health Unit
The floor is damaged at the transition from the dayroom floor to the tile floor in Shower A, and
the patch that was applied does not suffice as maintaining the floor in good repair. The shower
floor drain was clogged with organic debris and adult drain flies were observed resting on the
shower walls.

The seating in the dayroom was extremely filthy with embedded soil. Additionally, the seating
affords little physical distancing as the seat cushions are adjacent to each other. The floor in
the dayroom was dirty and had accumulations of dirt in the corners and at the juncture of the
floor and walls. The ceiling in the dayroom was soiled with residue from thrown food and wads
of dried toilet tissue were stuck to the ceiling.

The cell door food ports were unsanitary, the hinges were rusty, the paint was chipping, and
remnants of old, dried food was observed on the doors; thus, the cell door ports are not a
hygienic surface to pass food and other clean items into the cells.

Cell P-9 was unoccupied, filthy, and appeared neglected. The steel surface of the single bunk
bed frame was corroded and dirty, with rust bleeding through the worn and flaking paint, and
heavy accumulations of dirt and lint along the edges and in the corners of the bed frame. The
cell walls were marked with drawings and graffiti, heavily soiled, and a large area of paint had
been worn or peeled away, above the head of the bed. The floor was dirty and black grime was
observed covering the feet of the bed and in the space between the toilet and the wall. The
sink drain was partially clogged and drained slowly. The prisoner in Cell P-11 stated that his cell
was not cleaned prior to him being placed in it and he pointed out several dirty streaks on the
wall and stated that one was “mucus” and the other was “feces” from a previous cell occupant.

Recommendations:
   1. Shower A in housing unit 2P should be inspected and necessary repairs performed,
      including renovating the damaged floor to ensure that the surface is cleanable and does
      not present a trip hazard.
   2. Shower floor drains should be routinely inspected, cleaned and maintained.



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    3. The chairs in the 2P dayroom should be deep cleaned and serious consideration should
       be given to replacing them with new modular, heavy duty institutional furniture that is
       constructed of non-absorbent materials for cleanability purposes. Modular furniture is
       recommended to aid in physical distancing, an enhanced CDC Covid-19 prevention
       strategy.8
    4. The 2P dayroom ceiling should be routinely inspected and cleaned, as needed.
    5. The cell door food ports should be renovated and kept clean to ensure the sanitary
       delivery of meals and supplies.
    6. Terminal cleaning should be performed after every patient/inmate is released or
       transferred from a cell or area, including a thorough cleaning of the bed frame. Every
       cell/personal living area should be cleaned and disinfected before it is reoccupied.
    7. The steel bed frames in the housing units should be inspected and all of the bed frames
       that are rusty and corroded should be restored to good condition and repainted. If
       proper renovations are not feasible, they should be replaced.


Main Jail: 2 East Housing Unit
2 East 100
The 2 East 100 housing unit is designated for disabled prisoners in wheelchairs. There are five
cells and both prisoners and staff report that the unit is always full.

The chairs in the 2 East 100 dayroom were dirty and the vinyl covers on several of the dayroom
chairs were torn and damaged, exposing the inner cushions, the chairs were damaged to the
point that they can no longer be properly cleaned and disinfected. Microorganisms and viruses,
including MRSA can potentially spread from person to person via the chairs. However, one
prisoner stated that the chairs in the dayroom “did not matter” because they were all in
wheelchairs and did not use them anyway. However, he did state that it would be helpful if the
other furniture in the dayroom, specifically the tables were wheelchair accessible.

A free-standing, portable, 3-panel, folding medical privacy screen was positioned in front of the
entrance to the shower, in lieu of a door or shower curtain. The screen was ripped in several
places and a prisoner showed me where he had repaired it with string. The screen was dirty
and not easily cleaned due to being constructed of pleated material. The prisoners reported
that the screen is unwieldy to move, especially from a wheelchair, and a prisoner offered to
demonstrate moving the screen and the awkwardness of handling it was obvious.




8
 https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-
detention.html

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The shower in 2 East 100 had one PVC roll-in shower chair with a commode seat and a mesh
back rest. The green colored mesh back rest of the shower chair was heavily stained with soap
scum and white hard water deposits. Dirty grime was also observed on the arms and legs of
the shower chair. The prisoners assigned to the housing unit stated that prisoners from other
housing units are brought to use the shower and on occasion prisoners defecate and leave
feces on the shower floor. They also stated that the showers are not cleaned on a daily basis;
however, if they could clean it themselves, they would. They stated that prisoners from other
units are assigned to clean. Other than a buildup of soap scum and hard water scale on the
floors and walls, the shower was found to be reasonably clean. Floor tiles were missing around
the shower floor drain, creating a surface that is not easily cleanable.

2 East 200
2 East 200 is designated for inmates with CPAP machines. Bundles of extension cords were
taped to the floor throughout the pod. The extension cords ran down the front of each row of
cells and a single extension cord split off and ran under the door of each cell. Staff reported
that the extension cords provide the power for the CPAP machines in the cells. However, the
extension cords pose a trip and fall hazard. Additionally, damaged extension cords potentially
pose a fire hazard and extension cords should not be used for long term use. 9 Furthermore, the
extension cords running across the floor hinders cleaning and dust and dirt collect on the cords
and sticky tape residue.

Shower A was found to need cleaning, the floor appeared to have ground-in soil stains under
the area of the shower head. Soap scum and hard water deposits were observed on the walls
and metal wall panel. The vent grille in the shower was covered in a thick accumulation of dust
and the clogged vent restricts the airflow and exchange necessary to prevent excess moisture
and to prevent mildew growths. The metal duct cover, vent grille frame, and security screws
attaching the grille to the duct cover were rusty. The dayroom floor at the juncture of the
shower door was dirty with an accumulation of dirt.

Several soiled rags were hanging on a table leg in the 2 East 200 dayroom. The use of the soiled
rags for cleaning or hygiene purposes poses a health risk. Soiled rags are a potential source of
contamination and can spread bacteria from the dirty rag to surfaces, such as a tabletop.

A severely cracked mattress, with numerous long cracks that exposed the inner filling, was
observed on the floor in a booth/cell, outside of the unit.




9
    https://www.cpsc.gov/s3fs-public/5032.pdf

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2 East 300
The floor throughout the 2 East 300 dayroom was dirty and not adequately cleaned and
appeared that it was routinely “damp mopped,” rather than being thoroughly cleaned. Drain
flies were observed in Shower B.

Recommendations:
   1. Ensure that the dayroom floors are kept clean.
   2. The extension cords that are taped to the floor in the 2 East housing unit should be
       replaced with a safe alternative power outlet or supply for the CPAP machines, that also
       ensures that the safety and security needs of the facility are met.
   3. The dayroom furniture in 2 East 100 should be replaced with easily cleanable tables and
       seating that accommodate the needs of every prisoner assigned to the housing unit.
   4. Soiled rags should be collected after use, stored in a designated container or laundry
       bin, and sent to the facility laundry for proper handling.
   5. Mattresses should be inspected and those that have cracked, torn, or damaged covers
       should be replaced.
   6. The vent grilles in the showers should be routinely cleaned to remove accumulated dust
       and ensure proper ventilation.
   7. Inspect all of metal shower surfaces, including plumbing access panels and door frames
       for rust. Rusty surfaces should be cleaned and restored to good condition.
   8. Shower floor drains should be routinely inspected, cleaned, and maintained.
   9. The dirty, ripped screen in the 2 East 100 housing unit shower should be replaced with
       an appropriate shower curtain, screen, or door that is cleanable, durable, meets the
       privacy and modesty needs of prisoners with disabilities, as well as adheres to safety
       and security standards.
   10. The shower chair in the 2 East 100 housing unit should be replaced and/or maintained in
       a hygienic manner and cleaned and disinfected between each use.
   11. The shower floor in the 2 East 100 housing unit should be repaired to ensure an easily
       cleanable surface.



Main Jail: 3 West Housing Unit (Outpatient Psychiatric Program (OPP) and
Suicide Observation)
3 West 100
Shower A was found to have a clogged floor drain and drain flies. Heavy soap scum and hard
water deposits were observed on the walls and the metal wall panel. The vent grille was
clogged with dust. The shower ceiling was dirty and had apparent mildew growths.



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3 West 200
The housing unit floor was extremely dirty, especially around the edges of the dayroom and in
the corners. The staircase was dusty. The HVAC ductwork was covered in a thick layer of dust.
The dayroom tables were dirty with dried food residues. Shower B was particularly filthy with
food, trash, and a clogged drain with greenish-brown colored standing water in the shower pan,
the shower vent grille was clogged with dust, the paint was peeling on the shower door, and
pieces of dirty tape were stuck to the windows and the edge of the door. The tiles were missing
at the transition from the floor to the stainless-steel shower stall, exposing the cracked
underlayment, which is not an easily cleanable surface.

3 West 300
The unit includes the suicidal inmate temporary housing unit. Eight beds were observed in a
row in the dayroom, the mattresses were in poor condition with severely cracked covers. The
bed frames were dirty with accumulations of dirt and food debris. A heavy accumulation of
dust was observed on the staircase between the first and mezzanine floors.

Recommendations:
   1. Ensure that the floors in the housing units are kept clean.
   2. Terminal cleaning should be performed after every patient/inmate is released or
       transferred from a cell or area, including a thorough cleaning of the bed frame. Every
       cell/personal living area should be cleaned and disinfected before it is reoccupied.
   3. Mattresses should be inspected and those that have cracked or damaged covers should
       be replaced.
   4. Ensure that staircases are kept clean and free of dust accumulations.
   5. Ensure that the HVAC ductwork is cleaned on a routine or scheduled basis.
   6. Dayroom tables should be cleaned and sanitized after every meal. High-touch surfaces,
       including dayroom tables should be cleaned and disinfected on a routine basis.
   7. Ensure that the showers are kept clean.
   8. Shower floor drains should be routinely inspected, cleaned, and maintained.
   9. The vent grilles in the showers should be routinely cleaned to clear accumulated dust
       and ensure proper ventilation.
   10. Inspect all of the showers, including the B Shower in 3 West 200, perform necessary
       renovations including repairing broken or missing floor tiles, cleaning and renovating
       rust and corrosion, and repainting.



Main Jail: Recreation Area
The recreation area that is located between floors 3 and 4 of the Main Jail was inspected on
March 7, 2022. Each recreation area is shared by approximately 16 housing units. The floor

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under and around the toilet was soiled. The floor was dusty and dirty and trash had
accumulated around the outer edge of the gym, including Styrofoam cups, spoons, food
wrappers, and orange peels. The Main Jail also has recreation areas between floors 5 and 6 and
between floors 7 and 8.

Recommendations:
   1. Ensure that recreation toilet areas are maintained in a clean and sanitary manner.
   2. Ensure that the recreation area floors are routinely cleaned and that trash is removed
      on a daily basis, including food debris that may attract insects and rodents.



Main Jail: 5 East Housing Unit
5 West 100
Mattresses with cracked covers were observed on the floor. The B Shower had a buildup of
soap scum and hard water deposits, as well as apparent mildew growths in the grout between
the tiles and on the floor in front of the shower stall. An inmate reported that they did not use
that shower because it leaks. The plastic utility cart that is used in the pod for serving meals
was filthy with food crumbs, old food debris, and food spills. The dirty cart is a hazard because
bacteria can grow on the debris and potentially contaminate food and utensils placed on the
cart.

Recommendations:
   1. Mattresses should be inspected and those that have cracked or damaged covers should
      be replaced.
   2. Showers should be kept clean and free of mold and mildew growths.
   3. The 5 West 100 shower should be inspected for leaks and repaired.
   4. Carts used to distribute food and meals should be cleaned after each use and kept clean
      in accordance with applicable standards including the FDA Food Code 2017, 4-601.11
      requiring equipment, such as carts, be kept free of an accumulation of dust, dirt, food
      residue, and other debris.



Main Jail: 6 East Housing Unit
6 East 200
Three handwritten signs taped to the Shower A door stated, “Please use “B” and “C” Shower.
“A” Shower is for Workers Only! Thanks in Advance.” “A handwritten sign above one of the
phones stated, “Workers only. Do not use phones!!” A handwritten sign taped to one of the
phones stated, “Worker phone only. Please use other phone. Thanks.” Although the posting

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states to use the other phone, there were two other phones. The dayroom floor was dirty, and
there was a heavy buildup of grimy dirt in the windowsills, and the corners and edges of the
floor around the room, especially in the area near the inmate phones.

6 East 300
A handwritten sign was posted on the Shower B door stating, “Workers shower only. Don’t
use” and a second sign on the door stated, “Don’t Use”. The shower on the upper tier had a
heavy buildup of soap scum and hard water deposits, the shower drain was clogged, and
numerous drain flies were resting on the shower walls.

Cell 14 was not occupied; however, it was filthy with trash strewn across the floor, including at
least 20 milk cartons, dirty food trays, Styrofoam cups, brown paper bags, and magazine pages.
Allowing trash to accumulate is a hazard because it can support bacterial growth and attract
and provide harborage for disease-carrying insects and rodents.

Allowing the inmate workers to control the use of the showers and the posting of signs that
inform the majority of the inmates in a pod, that access to the showers and phones is reserved
for only the inmate workers, may hinder compliance with applicable standards including ACA
Plumbing Fixtures standard (4-ALDF-4B-09) requiring a minimum of one shower for every 12
inmates and the California Board of State and Community Corrections’ Minimum Standards for
Local Detention Facilities, Adult Title 15 Regulations, § 1067 Access to Telephone requiring
reasonable access to make phone calls.

Recommendations:
   1. Ensure that voluntary inmate worker privileges are clearly defined and equally and fairly
      applied throughout the facility. Ensure that voluntary inmate worker privileges do not
      impede the other inmates’ access to essential facilities including showers.
   2. Inmate worker rules, regulations, and privileges should be explained to voluntary
      inmate workers. Inmate workers should sign a voluntary work program agreement.
   3. Housing unit floors should be kept clean.
   4. Shower floor drains should be routinely inspected, cleaned, and maintained.
   5. Cleaning should be performed after every inmate is released or transferred from a cell,
      and trash and food waste should be removed and discarded as soon as possible. Every
      cell should be cleaned and disinfected before it is reoccupied.



Main Jail: Lunch Meal Service
Health Rationale: Prisoners should be served a nutritionally balanced diet of wholesome foods
that are prepared in a sanitary manner and served in a hygienic environment to ensure food
safety.
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The lunch meal service was observed in the 6 East housing unit on March 7, 2022, and
significant food safety concerns were found. The lunch meal consisted of a sandwich, a cup of
soup, and a fresh apple. Unwrapped sandwiches for the lunch meal were sent from the kitchen
to the pods, in bulk, in large plastic bags. An inmate worker removed the unwrapped
sandwiches from the large plastic bag and stacked them in dirty, plastic milk crates that were
lined with a brown paper bag in the bottom, alongside fresh apples. The sandwiches were
touching the sides of the milk crates. The inmate worker ladled soup from a 5-gallon insulated
container into Styrofoam cups. The inmate worker was wearing a hairnet and disposable
gloves, and he was observed changing his gloves after performing a task that might have
contaminate his gloves. He placed the cups of soup and the crates on a plastic utility cart that
was filthy with old food spills and dried food debris. The inmate worker proceeded to roll the
cart around the pod to distribute the lunch meal. He set the Styrofoam cups of soup directly on
the dirty floor, an unwrapped sandwich on top of each cup of soup, and then an apple on top of
each sandwich; outside of the cells for each of the inmates in the pod. The officers then
opened the cell doors and the inmates picked up their lunch off of the floor and returned to
their cells with their food. The staff stated that this meal distribution process was implemented
due to Covid-19. The distribution of the lunch meals was also observed in an adjacent pod
where the inmate worker followed the same procedure; except, instead of placing the food
directly on the floor, the meals were placed on the dayroom tables.

Recommendations:
   1. Food should not be served on the floor. The process for serving food and meals should
      be immediately evaluated; and ensure that a food service plan 10 is in place that
      complies with applicable standards including California Retail Food Code, Chapter 4.
      General Food Provisions, Article 1 Protection from Contamination, 113980 stating that
      all food shall be protected from dirt, vermin, unnecessary handling, droplet
      contamination, overhead leakage, or other sources of contamination and FDA Food
      Code 2017, including 3-302.11(A)(4) stating, “All food shall be protected from
      contamination by storing the food in packages, covered containers, or wrappings.”
   2. The process of serving sandwiches should be evaluated to ensure compliance with the
      FDA Food Code 2017, 4-202.11(A)(3) stating that multiuse food-contact surfaces, such as
      the plastic milk crates used to hold unwrapped sandwiches, shall be free of sharp
      internal angles, corners, and crevices.



10   The California Board of State and Community Corrections’ Minimum Standards for Local Detention Facilities,
Adult Title 15 Regulations, § 1243. Food Service Plan, “Facilities shall have a written food service plan that shall
comply with the applicable California Retail Food Code.”


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   3. Carts used to distribute food and meals should be kept clean in accordance with the FDA
      Food Code 2017, 4-601.11 stating, “Nonfood-contact surfaces of equipment shall be
      kept free of an accumulation of dust, dirt, food residue, and other debris” and 4-602.13
      stating, “Nonfood-contact surfaces of equipment shall be cleaned at a frequency
      necessary to preclude accumulation of soil residues.”



Main Jail: 6 East Housing Unit
6 West 100
The floor throughout the housing unit was dirty with dirt, clumps of dust, and debris. The pod
had heavy dust accumulations, including on the staircase and on the ceiling.

6 West 200
The paint was peeling on the dayroom wall by the phones. The epoxy coating was peeling in
Shower A. The B shower was locked and it was reported that it did not work. The D shower
was also locked and also reported not to work, and that the B and D Showers are on the same
plumbing chase.

Recommendations:
   1. Housing units should be kept clean.
   2. The walls in 6 West 200 should be inspected for peeling paint and repainted, as needed.
   3. The 6 West 200 Shower A should be renovated to ensure an easily cleanable surface.
   4. Although scheduled plumbing maintenance and emergency plumbing repairs are a
      normal part of facility operations, inmates should not be housed in pods or housing
      units when the plumbing is not working or the number of inmates should be reduced to
      ensure compliance with applicable standards including the ACA Plumbing Fixtures
      standard (4-ALDF-4B-09) requiring a minimum of one shower for every 12 inmates.



Main Jail: 7 West Housing Unit
7 West 100
The Shower D door was closed and locked and it was reported that it had been inaccessible for
a long time. The Shower C vent grille was clogged with dust, the drain was clogged with organic
matter, and numerous drain flies were observed.

7 West 300
Adequate access to showers is essential to maintain health and hygiene. A laminated paper
sign on the Shower A door stated, “There are only 2 showers between up to 40 girls.” A ratio of
one shower per 20 inmates does not meet nationally recognized standards, including ACA

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Plumbing Fixtures standard (4-ALDF-4B-09) requiring a minimum of one shower for every 12
inmates. A section of tile was loose and had pulled away from the wall outside in the Shower B
vestibule. The B shower was found to be missing grout between the floor tile and the stainless-
steel shower stall, creating a small gap that traps dirt and moisture and is difficult to clean.
Drain flies were observed in Shower C.

7 West 400
Cell 20 was reported to be offline for a broken toilet and the toilet was covered with brown
paper bags. There were also two brown paper bags full of trash and two open cartons of milk
near the cell door. The cell was malodorous. A housing unit officer stated that an inmate was
moved out of the cell the previous night due to a plumbing problem and that the cell would be
cleaned before the next inmate arrived.

Recommendations:
   1. The ratio of showers to inmates should be assessed, particularly in 7 West 100 and 7
      West 300, to ensure that inmates have adequate access to showering.
   2. The 7 West 300 Showers should be inspected and repaired, as needed.
   3. The vent grilles in the showers should be routinely cleaned to clear accumulated dust
      and ensure proper ventilation.
   4. Shower floor drains should be routinely inspected, cleaned, and maintained.
   5. Cleaning should be performed after every inmate is released or transferred from a cell,
      and trash and food waste should be removed and discarded as soon as possible. Every
      cell should be cleaned and disinfected before it is reoccupied.



Main Jail: 8 West Housing Unit
8 West 100
A large trash cart, a container with a handle, 2-wheels, and a lid, was positioned in the
dayroom. The cart was not lined with a trash bag and garbage had been thrown directly into
the cart. Nuisance flies11 were swarming the trash cart. Nuisance flies were also observed
outside of Cell 5 and were swarming around three food trays and several open milk cartons.
Cell #12 was occupied and malodourous. The housing unit officer stated that the cell’s
occupant has Serious Mental Illness and when the cell starts to smell, then they will clean it.

8 West 200
The floor throughout the housing unit was filthy with grime, clumps of dust, and dried food
debris. Wads of tissue, food debris, dirt, and dust were accumulated on the floor by the

11
  Nuisance, also called filth flies are non-biting flies that include house flies, drain flies, fruit flies, and gnats. Good
sanitation is the key to controlling them.

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phones. The stairwell was extremely dusty, including heavy accruals of dust on the horizontal
surfaces and the vertical balusters. Mattresses with cracked covers were observed in Cells 8
and 21. The food ports were soiled with dried food.

8 West 300
The floor at the entrance to Shower A floor was damaged, leaving a surface that was not
conducive to cleaning. The painted steel shower door frame was corroded, rusty, and the paint
was chipped. Drain flies were observed in the shower.

8 West 400
The food port/access control box in the door of Cell 1 was filthy. The food port/access control
box is different than a standard food port/pass in a cell door consisting of a hinged access cover
plate, with a lock. The food port/box consists of a controlled access box with a locking, piano
hinged plastic cover that is mounted on the outside of the cell door. The cell occupant is given
access to contents in the box, such as a meal, when an officer opens a sliding panel on the side
of the box. It was apparent that the food port/access control box had not been recently
cleaned, the frame of the box was covered in a layer of dust, and the plastic lid and interior of
the box were heavily soiled with dried, spilled food. The cell door above the box was streaked
with what appeared to be dried food. The food port/access control box was not a clean surface
for delivering food and supplies.

Cell 6 was vacant and reported to be offline due to a non-functional sink; however, it was dirty.
The bed fixture was soiled with various dried residues, the wall next to the toilet was splattered
with unidentified substances, and the floor was filthy, especially at the juncture of the floor and
walls and between the bed and toilet/sink combi unit.

 Recommendations:
   1. Ensure compliance with the Consent Decree, IV. Mental Health Care, F. Placement,
      Conditions, Privileges, and Programming, 3. Conditions stating, “staff shall provide
      prisoners in Designated Mental Health Units with the opportunity to maintain cell
      cleanliness and the opportunity to meet their hygiene needs. Custody and clinical staff
      shall provide assistance to prisoners on these matters, as appropriate to individual
      patient needs.” 12
   2. Housing unit floors should be kept clean.
   3. Terminal cleaning should be performed after every patient/inmate is released or
      transferred from a cell or area. Every cell/personal living area should be cleaned and
      disinfected before it is reoccupied.
   4. Ensure that staircases are kept clean and free of dust accumulations.


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     Mays et al. v. County of Sacramento, Case No: 2:18-cv-02081-TLN-KJN

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       5. Ensure that cell doors and food port/access control boxes are kept clean and food spills
           should be cleaned in a timely manner.
       6. Trash carts and waste containers should be lined with trash bags and cleaned on a
           routine basis.
       7. Trash and garbage should be removed from the pods and housing units at a frequency
           to ensure good sanitation and prevent vermin and pest infestations.
       8. Mattresses should be inspected and those that have cracked or damaged covers should
           be replaced.
       9. Inspect all of the showers, including the Shower A in 8 West 300 and perform the
           necessary renovations including, repairing the floor, clean and renovate the rust and
           corrosion, and repaint.
       10. Shower floor drains should be routinely inspected, cleaned, and maintained.



Main Jail: Hair Care Services/Shaving
Health Rationale: Sanitation in hair care services, including shaving and the sanitation of the
electric razors is essential because it is recognized that shaving causes nicks, cuts, and abrasions
on the skin that allow the entry of bacteria and viruses, and razor blades can become
contaminated with blood; posing the risk of disease transmission including Hepatitis C, HIV,
MRSA, and ringworm.

An inmate was observed shaving with an electric razor in the 8 West housing unit. An electric
razor and an unlabeled Styrofoam cup containing a blue liquid were observed on a dayroom
table in 8 West 400. The officer in the housing unit stated that the blue liquid was Barbicide, a
brand name EPA registered disinfectant commonly used in barbershops and hair salons.
Barbacide is toxic if swallowed 13 and the clear blue liquid in an unlabeled Styrofoam cup could
be mistaken for a beverage such as an energy drink or fruit punch. The Styrofoam cup was the
same type of cup that was used for the lunch meal service. Upon closer examination a small
dead fly was observed in the bottom of the cup of Barbicide. When the officer was asked how
long the razor blades should remain in the disinfectant solution, the officer responded that they
let the inmates decide how long to let it sit. Disinfectants, including Barbicide, require a contact
time or keeping the surface wet with the disinfectant per the directions listed on the
manufacturer’s label. The contact time is a critical step in ensuring adequate disinfection.




13
     https://barbicide.com/wp-content/uploads/2020/01/SDS-KIN1-0015-Spacide-6-24-19.pdf

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Recommendations:
   1. Ensure compliance with the California Board of State and Community Corrections’
      Minimum Standards for Local Detention Facilities, Adult Title 15 Regulations, § 1267
      Hair Care Services stating that equipment shall be disinfected after each use.
   2. Ensure that all razors are disinfected by a method approved by the State Board of
      Barbering and Cosmetology as required by Adult Title 15 Regulations, § 1267 Hair Care
      Services.
   3. Ensure disinfectants are used according to the manufacturer’s directions, including the
      contact time required for disinfection.
   4. Chemical containers should be properly labeled in accordance with applicable standards
      including OSHA’s Hazard Communication Standard. Unlabeled containers, should not be
      used for disinfecting the electric razors. As a best practices recommendation, a
      different type container other than one that is ordinarily used for meal service in the
      facility, should be used to disinfect the electric razors.



Main Jail: 8 East Housing Unit
8 East 100
The cell door food ports were in exceptionally filthy and in poor condition, the paint was
peeling and worn, exposing bare rusty steel, and they were soiled with thick buildups of dried
food residue. Allowing food spills to remain on the food port ledges has likely led to the
deterioration of the of the paint, due to acids in the foods. The cell doors were also soiled with
food residues with dirty streaks running down the doors. Drain flies were found in Shower A
and the vent grille was clogged with dust.

8 East 300
The Shower A grille vent was clogged with dust. The shower floor drain was approximately 80%
clogged with organic matter. The Cell 12 feeder port was in particularly bad condition, due to
heavily worn, peeling paint and rust; therefore, the ledge is not a surface that can be properly
cleaned and sanitized for the service of food and meals. It appeared that food had recently
been served on the food port ledge due to the presence of several pieces of carrot, as carrots
were observed in the soup that was served for lunch earlier that day.

Recommendations:
   1. The cell door food ports should be inspected and those that are rusty, have peeling
      paint, and are in bad condition should be renovated or replaced.
   2. The cell doors should be maintained in sanitary condition and food spills should be
      cleaned in a timely manner.


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   3. The vent grilles in the showers should be routinely cleaned to clear accumulated dust
      and ensure proper ventilation.
   4. Shower floor drains should be routinely inspected, cleaned, and maintained.


Main Jail: Fire Safety – Dusty Sprinkler Heads
Health Rationale: Fire protection is essential to protect life and prevent injury.

The fire sprinkler heads throughout the jail housing units were observed to be extremely dusty
and have dust accumulated around the glass bulbs. The glass bulb in a fire sprinkler head is
heat activated and when heated, will break and discharge water. The concern is that a
“loaded” sprinkler head or one that is covered in dust, dirt, or grime may not properly activate.

Recommendation:
   1. The fire sprinkler heads should be inspected by a qualified inspector in accordance with
      applicable standards including NFPA 25, Standard for the Inspection, Testing, and
      Maintenance of Water-Based Fire Protection Systems, Chapter 5, Sprinkler Systems, 5.2
      Inspection.



RCCC: JKF 500 Pod
The RCCC dormitory style pod was filthy. The staircase from the first floor to the second tier
was extremely dirty and dust balls were hanging from the bottom of each of the metal grate
stair treads, and the wall adjacent to the stairwell was dirty with dust. The floor was dirty,
especially around the edges of the room where a black dirty buildup was observed. The phones
are mounted to a white cinder block wall, the wall around the phones was dirty and stained
brown from heavy use.

A utility/mop sink in the pod was stained with rust and mold was growing between the sink and
the wall. Trash and debris were observed in the bottom of the sink. Drain flies were found.
Old milk cartons were cut open and used as soap dishes. The floor in front of the sink is black
with ground in dirt. The showers were dirty, mold growths were observed, and the tile floor
was dirty with a buildup of grime. The shower drains were clogged with organic matter. An
unlabeled spray bottle of chemical was found in the lower restroom area.

The ceiling was dirty around several of the ceiling vents which is usually the result of air
turbulence from the vent and the source of the “dirt” is from within the room or from the
unconditioned space around the vent, not the vent itself.




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Many of the bunks had excess accumulations of food and supplies that are a cause for concern.
Several inmates had multiple cartons of milk, inmates should not keep or hoard cartons of milk
after meal service periods are over. Ten unopened cartons of milk were observed at one bunk.
Milk requires temperature control for safety and holding milk and drinking it at unsafe
temperatures can lead to foodborne illness. A milk crate containing a one-gallon container of
chemical and a spray bottle of chemical, was found beside another bunk. While inmates should
be allowed to clean and disinfect their personal living areas, inmates should not have
unfettered access to bulk supplies of chemicals. Several mattresses with severely cracked
covers were observed.

Recommendations:
   1. Inspect all of the Pods; deep clean the housing unit including the ceiling, walls, staircase,
      floors, showers, bathrooms, utility/mop sink; and perform the necessary renovations
      including repainting, as needed.
   2. Housing units should be kept clean.
   3. Ensure that all chemicals are properly labeled in accordance with applicable standards
      including OSHA’s Hazard Communication Standard.
   3. Foods that require refrigeration and support the growth of pathogenic bacteria, such as
      milk and hazardous items, such as cleaning chemicals, should not be kept as inmate
      personal property in their cell or personal living area.



RCCC: CBF 400
Cell 415 was filthy and malodorous. Staff reported that the cell was an IOP 14 cell. The bunk bed
had peeling paint. The floor and cell bars were very dirty.

Recommendations:
   1. All medical cells should be inspected; cleaned and renovated, as needed.
   2. Ensure compliance with the Consent Decree, IV. Mental Health Care, F. Placement,
      Conditions, Privileges, and Programming, 3. Conditions stating, “staff shall provide
      prisoners in Designated Mental Health Units with the opportunity to maintain cell
      cleanliness and the opportunity to meet their hygiene needs. Custody and clinical staff
      shall provide assistance to prisoners on these matters, as appropriate to individual
      patient needs.




14
     Mental Health Intensive Outpatient Program

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RCCC: Medical Housing Unit
The medical housing unit is a barracks dormitory with hospital beds, a row of cells, and a shared
bathroom.

The HVAC grille covers in the medical dormitory were dirty with accumulated dust. On the
HVAC duct above the grille cover, the following was printed in block letters, “Dorm crew clean
grille each week.” Despite the directions printed on the HVAC ductwork, cleaning grilles and
ensuring they are clean is the responsibility of facility staff, not the inmate workers.

Several unlabeled spray bottles of chemical were found in the bathroom area. Commercial
food containers, an empty bulk cinnamon container from the facility kitchen was found on a
shelf in the dayroom and a Folgers coffee cannister was found in the bathroom janitorial closet.
Containers that were previously used to store food should never be used for chemicals and vice
versa, due to the danger of accidental consumption.

The bathroom walls are in very poor condition, they are damaged and numerous areas of paint
are peeling off in large pieces.

The mattress is Cell 40 was in poor condition with numerous long cracks on the vinyl cover.

The floor at the emergency exit door is dirty and in poor condition, with missing floor tiles. The
damage appears to be weather and water related. The door is immediately adjacent to a
medical housing cell.

Recommendations:
   1. Ensure that the HVAC grilles in the medical housing unit are routinely cleaned to clear
      accumulated dust and ensure proper ventilation.
   2. Ensure that all chemicals are properly labeled in accordance with applicable standards
      including OSHA’s Hazard Communication Standard.
   3. Poison control centers strongly recommend that food and beverage containers never be
      used for mixing or storing chemicals because accidents happen when chemicals and
      poisons are stored in the wrong container. Food and beverage containers, such as
      coffee cannisters should not be stored or used in janitorial or chemical storage areas.
   4. All mattresses in the medical housing unit should be inspected and those that have
      cracked or damaged covers should be replaced.
   5. The medical housing unit bathroom area should be inspected; and renovated as
      necessary, including repairing and repainting the walls.
   6. The flooring at the emergency exit door should be repaired. The emergency exit door
      should be inspected; and the weather stripping or sweep replaced, if needed.



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RCCC: Mattresses Stored Outside
Stacks of mattresses on wood pallets were stored outside, the mattresses were exposed to the
elements without any covering or protection. This finding was also noted on the Adult Type I,
II, III and IV Facilities Local Detention Facility Health Inspection Report, Health and Safety Code
Section 101045, dated February 18, 2020 stating, “Mattresses stored outside. Store inside
only.” Storing mattresses outside exposes them to dirt, dust, rain, and pests. It is concerning
that this finding was cited during an inspection two years ago and corrective action was not
taken.

Recommendation:
   1. Mattresses should be stored in a clean, dry, protected location.



Sanitation Plan/Policies and Procedures
Consistently following a comprehensive, well written sanitation plan/policies and procedures is
essential to maintaining a clean, hygienic detention environment. The need for a sanitation
plan/policy and procedures is so vital that it is included in the standards:

   •    Title 15 CCR § 1280, Article 15. Facility Sanitation and Safety; Facility Sanitation, Safety,
        and Maintenance:
                The facility administrator shall develop written policies and procedures for the
                maintenance of an acceptable level of cleanliness, repair and safety throughout
                the facility. Such a plan shall provide for a regular schedule of housekeeping
                tasks and inspections to identify and correct unsanitary or unsafe conditions or
                work practices which may be found.

   •    California Title 24, Part 2, Section 1231.2.14, states that medical care housing shall be
        cleaned and sanitized according to policies and procedures established by the health
        authority.

   •    The American Public Health Association’s (APHA) Standards for Health Services in
        Correctional Institutions (Third Edition, 2003), X.B. Services and Utilities, D.
        Housekeeping, states that a policy that documents daily sanitation duties is required.

   •    The American Correctional Association (ACA), Performance-Based Standards for Adult
        Local Detention Facilities, 4th Edition, 4-ALDF-1A-04, Housekeeping, states that the
        expected practice is to maintain a clean facility with a housekeeping plan that addresses

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           all of the areas in the facility, and assigns daily sanitation responsibilities and duties to
           both employees and prisoners.

The SSO Facility Sanitation and Cleanliness Operations Order 15 states, “the purpose of this
order is to outline the procedures to maintain a sanitary environment” at the Main Jail and
RCCC. The Operations Order further states:

           Prisoner Cleaning Crews shall be responsible for waste disposal, cleaning, and general
           housekeeping of designated areas of the facility. They may also be responsible for
           additional duties as needed and/or requested by custody staff.

           Custody Staff or General Services will be responsible for the housekeeping of areas
           where prisoners are not allowed.

Therefore, the SSO Operations Order titled Facility Sanitation and Cleanliness (version 9/02
(REV 4/12)), includes the basic elements; but, lacks the level of detail required for a truly
effectual sanitation plan/policy and procedures.

SSO also has a Main Jail Post Order, Housing Unit Cell/Floor Cleaning Protocol stating:

           The purpose of this order is to outline the process for searching and cleaning all housing
           unit cells and ensuring all prisoner areas are being disinfected on a daily basis
           (Operations Order 9/02). This includes any location used as a holding tank, safety cell,
           cells, showers, pods, indoor recreation, visit area, classrooms, and outdoor recreation.

Neither the Facility Sanitation and Cleanliness Operations Order nor the Housing Unit Cell/Floor
Cleaning Protocol Post Order clearly delineates all of the areas of responsibility assigned to the
prisoner work crews, custody staff, or General Services Department; other than stating that
housing unit staff are responsible for cleaning the control rooms and that every capable
prisoner is responsible for the daily cleaning of his or her immediate living area.

Recommendations:
   1. Sanitation Plan/Policy and Procedures. The SSO Facility Sanitation and Cleanliness
      Operations Order provides the foundation for comprehensive Sanitation Plan. SSO
      should develop and implement a formal, sanitation plan/policy and procedures that
      includes:
          a. What is to be cleaned?
                  i. The specific areas and surfaces which are to be cleaned, disinfected, or
                     sanitized. Including, but not limited to areas including the hallways and


15
     SSO Operations Order, Facility Sanitation and Cleanliness (Version 9/02 (REV 4/12))

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                      sanitation closets, as well as surfaces such as toilet bowls, sinks, shower
                      walls, floors, staircases, tables, stools, chairs, bunks, and windows.
          b. When or the frequency of cleaning?
          c. Who is going to do the cleaning?
                   i. Assign the specific cleaning responsibilities and tasks to staff and capable
                      inmates.
          d. How it is to be cleaned?
                   i. The processes or steps necessary to perform the cleaning, disinfecting, or
                      sanitizing task.
          e. The equipment and materials to be used for the cleaning.
                   i. Including, but not limited to, cleaning and disinfecting agents; and
                      equipment such as a push broom, mop with a clean mophead, mop
                      bucket, toilet brush, etc.
          f. Evaluate the cleaning effectiveness on a routine basis.
                   i. In the event that the cleaning tasks are not properly and thoroughly
                      completed upon inspection by responsible staff, appropriate corrective
                      action is taken and the resolution is documented.
          g. Document the cleaning tasks or activities.
                   i. Maintain the records or logs in accordance with the applicable records
                      retention policy.
          h. Routinely review and revise the Sanitation Plan/Policies and Procedures.
                   i. Annually or when significant changes are made.
   2. Training. Training is a key component to a successful sanitation plan.
          a. Staff and voluntary inmate workers should be trained on sanitation and cleaning
             procedures.
          b. Training should be organized, planned, and documented.
                   i. Train the trainer.
                          1. Ensure that the instructor has the knowledge base and skill set to
                               teach or train others.
                  ii. Document staff attendance.
                 iii. Document training provided to voluntary inmate workers.
                 iv. Require verification that the attendee understands the concepts
                      presented, such as pre and post-tests or observing the individual perform
                      the tasks learned.
          c. Chemical training should include OSHA’s Hazard Communication Standard.




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